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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Baltimore Division)

In re:                                             *

ROMAN CATHOLIC ARCHBISHOP                          *            Case No: 23-16969-MMH
OF BALTIMORE                                                             (Chapter 11)
                                                   *
         Debtor
                                                   *

         *    *          *      *       *      *        *      *        *        *        *   *

                               DEBTOR’S REQUEST FOR HEARING
                  The Roman Catholic Archbishop of Baltimore, the debtor and debtor in
possession herein (the “Debtor”), by counsel, hereby requests that the Court schedule a hearing
on matters related to the Notice of Presentation of Survivor Statements [Dkt. # 1036] filed by the
Official Committee of Unsecured Creditors (the “Committee”).
                  The Debtor shares the Committee’s views regarding the importance of providing
the opportunity for survivors with claims against the Debtor or affiliates of the Debtor to be
heard in this bankruptcy proceeding; however, following the April 8, 2024 and May 20, 2024
hearings provided for that purpose, the Debtor has concerns about further hearings taking place
without appropriate guardrails regarding who is permitted to participate and the timing of such
hearings.
                  With respect to the issue of who may be heard, during the prior hearings,
individuals without claims against the Debtor or affiliates of the Debtor made statements during
each of the April 8, 2024 and May 20, 2024 hearings. The Debtor does not believe that this
bankruptcy proceeding should serve as a venue for those without claims against the Debtor or
affiliates of the Debtor, particularly when such participation comes at the expense of time that
could be utilized for survivors with claims against the Debtor or affiliates of the Debtor.
                  With respect to the timing of further hearings for survivor statements, with the
Court’s encouragement to get the confirmation process underway, the Debtor believes further
hearings for survivor statements should be included as part of the confirmation process, ideally
in connection with any hearing(s) in connection with approving a disclosure statement and,
subsequently, confirmation of a plan of reorganization in this bankruptcy proceeding.
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                 WHEREFORE, the Debtor respectfully requests that the Court schedule a hearing
to consider (i) the Committee’s request for a hearing date to accommodate additional claimant
statements and (ii) the Debtor’s request that it be heard with respect to any potential order setting
the date and guidelines for any future hearing regarding additional claimant statements.


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                                                      Counsel for Debtor




                                  CERTIFICATE OF SERVICE
                 I HEREBY CERTIFY that on the 7th day of May 2025, notice of filing the

Debtor’s Request for Hearing (the “Request”) was served by CM/ECF to those parties listed on

the docket as being entitled to such electronic notices, which parties are identified on the

attached service list. In addition, Epiq Corporate Restructuring, LLC will cause a true and

correct copy of the Request to be served on all parties required to be served, with a certificate or

affidavit of service to be filed subsequently, all in accordance with Local Rule 9013-4.


                                                             /s/ Catherine Keller Hopkin
                                                      Catherine Keller Hopkin




4897-1108-8959                                  -2-
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